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                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17

18 UNITED STATES OF AMERICA,                          )   NO.: 3:20-mj-71049 MAG
                                                      )
19           Plaintiff,                               )   STIPULATION AND [PROPOSED] ORDER
                                                      )   CONTINUING HEARING AND EXCLUDING
20      v.                                            )   TIME UNDER THE SPEEDY TRIAL ACT AND
                                                      )   FEDERAL RULE OF CRIMINAL PROCEDURE
21 NIMA FAZELI,                                       )   5.1(c) AND (d)
                                                      )
22           Defendant.                               )
                                                      )
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24           Counsel for the United States and counsel for the defendant, Nima Fazeli, jointly stipulate and
25 request that the hearing currently set for December 7, 2020, be continued to January 7, 2021. Defendant

26 Fazeli recently retained new counsel, and the parties are exploring a resolution of this matter. The

27 parties further stipulate and request that time be excluded under Federal Rule of Criminal Procedure

28 5.1(c) and (d), and the Speedy Trial Act from December 7, 2020 to January 7, 2021.
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1          The government and counsel for the defendant have agreed that time be excluded under Federal

2 Rule of Criminal Procedure 5.1 and the Speedy Trial Act so that defense counsel can continue to

3 prepare, including by reviewing discovery produced by the government. For these reasons, the parties

4 stipulate and agree that excluding time until January 7, 2021, will allow for the effective preparation of

5 counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv); FRCP 5.1(c) and (d). The parties further stipulate and

6 agree that the ends of justice served by excluding time from December 7, 2020 to January 7, 2021 from

7 computation under the Speedy Trial Act and Federal Rule of Criminal Procedure 5.1(c) and (d)

8 outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

9 3161(h)(7)(A), (B)(iv).
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11         IT IS SO STIPULATED.
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13 DATED: November 25, 2020                             Respectfully submitted,
14                                                      DAVID L. ANDERSON
                                                        United States Attorney
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                                                         /s/
17                                                      ANDREW F. DAWSON
                                                        Assistant United States Attorney
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20 DATED: November 25, 2020                              /s/
                                                        MARTIN SABELLI
21                                                      Attorney for the Defendant
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 1                                           PROPOSED ORDER
 2          Based upon the representations of counsel and for good cause shown, the Court continues the

 3 December 7, 2020 hearing in this matter to January 7, 2021. The Court further finds that failing to

 4 exclude the time from December 7, 2020 to January 7, 2021 would unreasonably deny defense counsel

 5 and the defendant the reasonable time necessary for effective preparation and continuity of counsel,

 6 taking into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). The Court further finds

 7 that the ends of justice served by excluding the time from December 7, 2020 to January 7, 2021 from

 8 computation under the Speedy Trial Act and Federal Rule of Criminal Procedure 5.1(c) and (d)

 9 outweighs the best interests of the public and the defendant in a speedy trial. Therefore, and with the
10 consent of the parties, IT IS HEREBY ORDERED that the time from December 7, 2020 to January 7,

11 2021 shall be excluded from computation under the Speedy Trial Act and Federal Rule of Criminal

12 Procedure 5.1(c) and (d). 18 U.S.C. §§ 3161(h)(7)(A), (B)(iv); FRCP 5.1(c),(d).

13

14          IT IS SO ORDERED.
15
          11/25/2020
16 DATED:___________________                             _____________________________________
                                                         THE HONORABLE LAUREL BEELER
17
                                                         United States Magistrate Judge
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